
LINN, Circuit Judge, with whom NEWMAN and RADER, Circuit Judges, join, dissents from the denial of the petition for rehearing en banc.

ORDER

PER CURIAM.
A petition for rehearing en banc was filed by the Appellant, and a response thereto was invited by the court and filed by the Director of the United States Patent and Trademark Office. The petition for rehearing was referred to the panel that heard the appeal, and thereafter the petition for rehearing en banc and response were referred to the circuit judges who are authorized to request a poll whether to rehear the appeal en banc. A poll was requested, taken, and failed.
Upon consideration thereof,
IT IS ORDERED THAT:
(1) The petition for panel rehearing is denied.
(2) The petition for rehearing en banc is denied.
(3) The mandate of the court will issue on February 19, 2008.
